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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION


                                )
STATE OF FLORIDA,               )
                                )
    Plaintiff,                  )
                                )
    v.                          )     Civil Action No. 3:21-cv-01066
                                )
The UNITED STATES OF            )
AMERICA, et al.,                )
                                )
    Defendants.                 )
                                )




          DEFENDANTS’ AMENDED INITIAL DISCLOSURES
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      Pursuant to Federal Rule of Civil Procedure 26(a), Defendants maintain that

discovery is improper regarding Plaintiff’s challenge to the Parole Plus ATD

(Parole+ATD) program. Plaintiff seeks review of Defendant U.S. Department of

Homeland Security’s parole practices at the southwest border pursuant to the

Administrative Procedure Act (APA). See generally ECF No. 16. “The focal point

for judicial review of an administrative agency’s action should be the administrative

record.” Pres. Endangered Areas of Cobb's Hist., Inc. v. U.S. Army Corps of

Engineers, 87 F.3d 1242, 1246 (11th Cir. 1996). The Eleventh Circuit requires that

there be “a strong showing of bad faith or improper behavior” by the agency in order

to “justify the district court going beyond the administrative record.” Alabama-

Tombigbee Rivers Coal. v. Kempthorne, 477 F.3d 1250, 1262 (11th Cir. 2007).

      Without waiving this objection, Defendants provide the following initial

disclosures based on the information known to them at this time. Defendants reserve

the right to supplement and/or amend these disclosures in accordance with the

Federal Rules of Civil Procedure and if the Court determines this case does not fall

under Fed. R. Civ. P. 26(a)(1)(B)(i) and/or in the event that Plaintiff seeks to

introduce or rely on non-record materials.

      I.     Witnesses

      The following individuals might have discoverable information that

Defendants may use to support their claims and/or defenses:


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      A. Robert Guadian, Deputy Assistant Director (DAD) for Domestic
         Operations East, Enforcement and Removal Operations, U.S.
         Immigration and Customs Enforcement (ICE). DAD Guadian has
         knowledge of ICE’s detention and parole practices for noncitizens who
         were encountered at the Southwest border. DAD Guadian may be
         contacted through Defendants’ counsel.

      B. Tony Barker, Chief of Law Enforcement Operations Directorate of
         the U.S. Border Patrol, U.S. Customs and Border Protection (CBP).
         Tony Barker has knowledge of CBP’s general detention and parole
         practices for noncitizens who were encountered by U.S. Border Patrol at
         the Southwest border. Mr. Barker may be contacted through Defendants’
         counsel.

      C. Matthew Davies, Executive Director of Admissibility and Passenger
         Programs, Office of Field Operations, CBP. Matthew Davies has
         knowledge CBP’s general detention and parole practices for noncitizens
         at ports of entry on the Southwest border. Mr. Davies may be contacted
         through Defendants’ counsel.

      D. Raul Ortiz, Chief of the U.S. Border Patrol, CBP. The Certified
         Administrative Record (see below) addresses the Parole+ATD program,
         but to the extent that Plaintiff seeks to introduce or rely on extra-record
         materials to challenge Parole+ATD, Chief Ortiz has knowledge of the
         decision to implement and implementation of Parole+ATD. Chief Ortiz
         may be contacted through Defendants’ counsel.

      II.   Documents

      Defendants will likely use the following documents to support their claims

and/or defenses:

   A. Certified Administrative Record

   B. ICE Policy Directive No. 11002.1 (Dec. 8, 2009)

   C. ICE Enforcement and Removal Operations, “Updated Guidance:
      Implementation of the Modified Nationwide Preliminary Injunction in
      Padilla v. ICE, No. 18-928, 2019 WL 2766720 (W.D. Wash. July 2, 2019)”
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      III.   Damages

      Plaintiff seeks only declaratory and injunctive relief, along with costs and

fees. ECF No. 16 at 31-32. Defendants deny that Plaintiff is entitled to any relief,

monetary or otherwise.

      IV.    Insurance

      The United States of America is self-insured and there is no relevant

insurance agreement.



Date: April 21, 2022                   Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that on April 21, 2022, I served Defendants’ Amended Initial

Disclosures via email on the following counsel for Plaintiff in Florida v. United

States, et al., No. 3:21-cv-01066.

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                          By: /s/ Joseph A. Darrow
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